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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division


Richard Baiter,                                  )
      Plaintiff,                                 )
                                                 )
V.                                               )                   l:17cvll88(AJT/JFA)
                                                 )
 United States of America,                       )
       Defendant.                                )

                                  MEMORANDUM OPINION


       Richard Baiter, a federal inmate proceeding pro      has filed a complaint pursuant to the

Federal Torts Claim Act("FTCA"),28 U.S.C. §§ 2671 ^seq.^ Defendant has filed a Motion for
Partial Dismissal and Partial Summary Judgment, along with a memorandum oflaw and exhibits

in support thereof. Dkt. Nos. 36-38. Plaintiff has filed an opposition, as well as an affidavit and

Statement of Disputed Facts. Dkt. Nos. 42-44. Defendant filed a reply. Dkt. No.45. This

matter is now ripe for adjudication. For the reasons stated below, defendant's motion will be

granted, and this matter will be dismissed.

                                          I. Background

       Plaintiff is an inmate incarcerated at FCC Petersburg. Amend. Comp.% 5. On March 24,

2015, plaintiff fell in the shower because another inmate left soap on the shower floor and

plaintiff, who is blind, did not know the soap was there. Id. 8,Ex. 1. As a result, plaintiff

twisted his ankle. Id. H 8. In June and July of2015, he went to see the medical staff every day
regarding severe pain in his lower back and right leg, as well as numbness in his right foot. Id ^




       ^ Although plaintiffs complaint may be liberally construed to raise other claims, he has
repeatedly stated that he is only raising claims pursuant to the FTCA. See, e.g.. Dkt. No. 4; PL's
0pp. at 7-8.
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  9. Plaintiff was evaluated by Physician Assistant Hall on July 20 and 23,2015, and prescribed

  plaintiff 800 milligrams ofIbuprofen three times a day for 180 days. Id 111,Exs. 2-3.

         A radiology report ofa lumbar spine and pelvic x-ray dated July 27,2015, states that the

  findings are "negative except for moderate degenerative disc disease" and "mild osteoarthritis of

. the hips." Id 114,Exs. 6-7. That same day, plaintiff was evaluated by Physician Assistant Hall.

  Id at Ex. 8. On July 28,2015, Dr. DiCocco prescribed acetaminophen \vith codeine,to be taken

  twice a day, and gabapentin, also to be taken two times a day, each for fourteen days. Id. ^ 13.

  During a period offour to six weeks, plaintiff was prescribed "Ibuprofen 700 mg., Tylenol

  Acetaminophen/Codine [sic] 300/30 mg.,Prednisone 5 mg., Percocet, Oxoxodone [sic] 5 mg.,

  Codine [sic], Gabapentin 600 mg., Indomethocin 50 mg.. Morphine Sulfate 20 mg., Ketorolac

  Tromethamine Injection 30 mg., Naproxen 250 mg.,[and] Baclofen 10 mg." Id ^ 60, Exs. 9-10.

         On August 5,2015, Dr. DiCocco noted that plaintiffs pain and numbness "raise[] the

  question of spinal cord/lumbosacral compromise" and ordered that plaintiff be scheduled for a

  lumbar and sacral MRI on "an urgent basis if not emergent basis." Id 114,Ex. 4. This MRI

  was ordered to look for evidence of"HNP or neoplastic process or trauma." Id K 14. The MRI

  was never scheduled. Id     19. On August 6, 2015, plaintiffs morphine was increased to 40

  milligrams daily. Id "A few days prior to August 9,2015," plaintiff was in severe pain,

  however, an unnamed lieutenant"made a diagnosis causing" plaintiff to not be seen by the

  medical staff. Id    55-57.

         On August 9,2015, plaintiff was in severe pain, vomiting, incontinent, confused, and

  unresponsive to verbal stimuli. Id    63,67. The medical staff ordered that plaintiff be taken to

  the John Randolph Medical Center because of a suspected drug overdose. Id        58,68, 70, Ex.

  19.


         While plaintiff was at the hospital, an August 10, 2015 MRI of his lower spine revealed

  the following:
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           • L2-3 level: minor bulge and mild facet arthrosis without central canal comprise or

               neural foraminal narrowing.

           • L3-4 level: minor bulge and mild facet arthrosis and mild to moderate central

               canal stenosis.


           • L4-5 level: right paracentral protrusion with large disc protrusion with inferior

               migration that results in severe central canal stenosis with moderate bilateral

               neural foraminal narrowing.

           • L5-S1 level: minor bulge and mild facet arthrosis without significant central canal

               compromise or neural foraminal narrowing.

Id. at Ex. 11. The findings were that plaintiff had a hemiated disc and compression fracture of

the LS spine. Id. H 30, Ex. 13. Finally, plaintiff was found to be in acute renal failure. Id K 29,

Ex. 12.


       On August 14,2015, plaintiff underwent spinal surgery. Id H 31, Ex. 14. A few days

after the surgery, plaintiff informed the surgeon that his right leg and foot were numb. Id f 42.

On September 28,2015, Dr. Winbush noted that plaintiff had changes to the vertebroplasty at L5

and degenerative changes ofthe spine. Id H 32, Ex. 15. Several months after the surgery,

plaintiffinformed Dr. Prakash that his right leg and foot were numb, and an MRI was approved

on December 3,2015, however,the MRI did not occur until thirteen months later. Id 143-45,

Ex. 16. The MRI revealed a pinched nerve; however, plaintiff has been told that nothing can be

done until he is evaluated by the orthopedic surgeon. Id ^ 47. As of March 15, 2017, plaintiff

had not seen the orthopedic surgeon. Id ^ 48. Regarding his spinal injury, the staff at

Petersburg were negligent in(1)assuming it could be resolved with pain medication and (2)

failing to order the emergent MRI. Id      33-34.
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                                       II. Motion to Dismiss


        A.Standard of Review


        Pursuant to Rule 12(b)(1) ofthe Federal Rules of Civil Procedure, a complaint or its

claims may be dismissed for lack of subject-matter jurisdiction. When a defendant challenges

the existence of subject-matter jurisdiction, courts may "regard the pleadings as mere evidence

on the issue[]and may consider evidence outside [those] pleadings without converting the

proceeding to one for summary judgment." Richmond. Fredericksburg & Potomac R. Co. v.

United States. 945 F.2d 765,768(4th Cir.1991);^Virginia v. United States. 926 F.Supp. 537,

540(E.D.Va.l995)(noting that, upon a defendant's challenge to the existence of subject-matter

jurisdiction, the court is to "look beyond the jurisdictional allegations ofthe complaint and view

whatever evidence has been submitted on the issue to determine whether in fact subject[-]matter

jurisdiction exists"). As the party asserting jurisdiction, it is plaintiffs burden to prove that

federal jurisdiction over his claim is proper. McNutt v. General Motors Acceptance Corp.. 298

U.S. 178,189 ri936k Adams v. Bain. 697 F.2d 1213, 1219(4th Cir.1982).

        B. Analysis

        Generally, the United States and its agencies enjoy sovereign immunity from suit unless

Congress has explicitly abrogated such immunity. United States v. Sherwood. 312 U.S. 584,586

(1941). The FTCA provides a limited waiver ofthat immunity insofar as it allows the United

States to be held liable "for injury or loss of property, or personal injury or death caused by the

negligent or wrongful act or omission ofany employee ofthe Government... under

circumstances where the United States, if a private person, would be liable to the claimant in

accordance with the law ofthe place where the act or omission occurred." 28 U.S.C. §

1346(b)(2); s^ Suter v. United States. 441 F.3d 306, 310(4th Cir. 2006), cert, denied. 127 S.Ct,

272(2006). "[A] waiver ofthe Government's sovereign immunity will be strictly construed, in
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terms of its scope, in favor ofthe sovereign." Lane v. Pena. 518 U.S. 187,192(1996)(citations

omitted).

       Before a plaintiff can bring an FTCA claim to federal court, however, he must have

exhausted his claim by presenting it to the appropriate federal agency, and the agency must have

denied the claim in writing. 28 U.S.C. § 2675(a). The claim must be presented to the

appropriate agency within two years ofthe accrual ofthe claim, or it is "forever barred." 28

U.S.C. § 2401(b). To properly "present" a claim to a federal agency, the plaintiff must provide a

written statement "sufficiently describing the injury to enable the agency to begin its own

investigation," GAF Corp. v. United States. 818 F.2d 901,905(D.C. Cir. 1987), as well as

provide "a claim for money damages in a sum certain for injury to or loss of property, personal

injury, or death," 28 C.F.R. § 14.2(a); see also Ahmed v. United States. 30 F.3d 514, 516-17(4th

Cir. 1994). Exhaustion of remedies is a jurisdictional requirement, and a court may not entertain

an FTCA suit based on an unexhausted claim. S^ McNeil v. United States. 508 U.S. 106,113

(1993); Henderson v. United States. 785 F.2d 121, 123(4th Cir. 1986).

       Since 2015, plaintiff has only filed one administrative tort claim related to the provision

of medical care. Def.'s MSJ, Harris Decl. More specifically, on October 25, 2016, plaintiff filed

a Standard Form 95 claiming "negligent malpractice and failure/refusal by [Petersburg] medical

staffto provide adequate, effective, competent, effective [sic] and timely medical care for spine

illness/injury/conditions rendering me disabled and in severe pain and distress." Id. at Att. 4.

Thus, defendant asserts, plaintiffs claims based on(1)the alleged drug overdose,(2)any actions

taken by non-medical staff, and(3)any actions taken after October 2016, are unexhausted.

       Plaintiff does not dispute that he did not properly exhaust the claims listed above,

however, he asserts that his lack of exhaustion is not fatal to his claims for two reasons. First,

plaintiff argues that he did not need to exhaust the unexhausted claims because the administrative

remedies were "unavailable" pursuant to the standard set out in Ross v. Blake. 136 S.Ct. 1850
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(2016). PL's 0pp. at 4-6. In Ross,the Court held that, under the Prison Litigation Reform Act

("PLRA"),"a prisoner need exhaust only 'available' administrative remedies," and then laid out

 three situations in which administrative remedies would be considered "unavailable." Ross. 136

 S. Ct. at 1856, 1859-60. The Court's analysis was based on the statutory language of42 U.S.C.

§ 1997(e)a, which "contains one significant qualifier: the remedies must indeed be 'available' to

the prisoner." Id.

        Plaintiffs Ross argument fails because Ross does not apply to FTCA cases, which must

 be exhausted pursuant to 28 U.S.C. § 2675(a), not § 1997.       Mendoza v. United States. 661 F.

 App'x 501,502(9th Cir. 2016)("We reject [plaintiffs] contention that exhaustion under the

Prison Litigation Reform Act satisfies the requirement to exhaust under the FTCA."); West v.

United States. 2018 WL 3384909, at *7(S.D.W. Va. June 13,2018)("[T]he exhaustion

requirements concerning FTCA and Bivens actions differ.")(citations omitted), report and

recommendation adopted, 2018 WL 3381418(S.D.W. Va. July 11, 2018); Elliott v. Wilson.

2017 WL 1185213, at *13(D. Minn. Jan. 17, 2017)("The FTCA imposes an exhaustion

requirement separate from that found in § 1997e(a).")(citations omitted), report and

recommendation adopted,2017 WL 1180422(D. Minn. Mar. 29, 2017).

        In addition, Ross should not be extended to apply to FTCA claims because § 2675(a)

does not contain the same, or even similar language, limiting exhaustion only to administrative
remedies that are available, as provided for in § 1997. S^ 28 U.S.C. § 2675(a)("An action shall

not be instituted upon a claim against the United States for money damages for injury or loss of

property or personal injury or death caused by the negligent or wrongful act or omission of any

employee ofthe Government while acting within the scope of his office or employment, unless
the claimant shall have first presented the claim to the appropriate Federal agency and his claim
shall have been finally denied by the agency in writing and sent by certified or registered mail.").
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Thus, assuming without deciding that administrative remedies were "unavailable," it would not

excuse pleiintiffs lack of exhaustion.

       Plaintiffs second argument is that his claims should be deemed exhausted because he

brought his problems to the attention of prison officials. PL's 0pp. at 6-7. At the same time,

plaintiff properly states that "[IJitigants must strictly comply with the procedural requirements of

the FTCA."^ Id at 6. Plaintiff never filed a claim requesting a sum certain regarding his claims

based on(1)the alleged drug overdose,(2)any actions taken by non-medical staff, and(3)any

actions taken after October 2016. Because plaintiff did not strictly comply with the FTCA's

exhaustion requirements, these claims cannot be deemed exhausted.

       Accordingly, plaintiffs claims based on(1)the alleged drug overdose,(2)any actions

taken by non-medical staff, and(3)any actions taken after October 2016 are unexhausted and

will be dismissed for lack ofjurisdiction.

                              III. Motion for Summary Judgment

       A. Standard of Review

       "The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter oflaw." Fed.

R. Civ. P. 56(a). "A dispute is genuine if a reasonable jury could return a verdict for the

nonmoving party," and "[a] fact is material if it might affect the outcome ofthe suit under the

governing law." Varietv Stores v. Wal-Mart Stores. Inc.. 888 F.3d 651,659(4th Cir. 2018).

Once the moving party has met its burden to show that it is entitled to judgment as a matter of

law,the nonmoving party "must show that there is a genuine dispute of material fact for trial...

by offering sufficient proof in the form of admissible evidence." Id (quoting Guessous v.



       ^ It is also noted that plaintiffs references to the exhaustion requirements under the
PLRA are inapposite as the PLRA exhaustion requirements differ from the FTCA exhaustion
requirements.
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Fairview Prop. Invs.. LLC.828 F.3d 208,216(4th Cir. 2016)). In evaluating a motion for

summary judgment,a district court should consider the evidence in the light most favorable to

the nonmoving party and draw all reasonable inferences from those facts in favor ofthat party.

United States v. Diebold. Inc.. 369 U.S. 654,655 (1962).

       B. Analysis

       As previously stated, the FTCA provides a limited waiver of the United States' sovereign

immunity to allow actions seeking monetary relief for injuries "caused by the negligent or

wrongful act or omission of any employee ofthe Government while acting within the scope of

his office or employment." 28 U.S.C. § 1346(b)(1). The government is only "liable in the same

manner and to the same extent as a private individual under like circumstances," 28 U.S.C. §

2674, and the extent of its liability is determined "in accordance with the law ofthe place where

the act or omission occurred," 28 U.S.C. § 1346(b)(1). Here, where plaintiffs allegations

surround events taking place in Virginia, Virginia law governs the manner and extent to which

the United States may be liable as a defendant. Accordingly,the Virginia Medical Malpractice

Act("VMMA"),Va. Code §§8.01-581.1,^ seq.. provides the framework upon which to analyze

plaintiffs FTCA claims. S^ Stams v. United States. 923 F.2d 34(4th Cir. 1991)(applying

VMMA in FTCA action involving federally operated health care providers in Virginia).

       As a threshold matter, the Virginia Medical Malpractice Act("VMMA"), Va.
       Code §§ 8.01-581.1, M seq.. requires that a party alleging medical malpractice
       obtain an expert certification of merit prior to serving process upon defendant.
       Va. Code § 8.01-20.1. Significantly, the failure to comply with this certification
       requirement is grounds for dismissal. Equally significant is that the VMMA
       provides only a limited exception to the certification requirement; the requirement
       may be excused only where "plaintiff, in good faith, alleges a medical malpractice
       action that asserts a theory of liability where expert testimony is unnecessary
       because the alleged act of negligence clearly lies within the range ofthe jury's
       common knowledge and experience." Va. Code § 8.01-20.1. ■

Parker v. United States. 475 F. Supp. 2d 594, 596-97(E.D. Va. Feb. 1, 2007)(citations omitted),
affd. 251 F. App'x 818(4th Cir. 2007). "This exception applies only in frare ifistances.'"
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Baxter v. United States. 2016 WL 3618363, at *4(E.D. Va. July 6,2016)(quoting Beverly

Enters.-Va.. Inc. v. Nichols. 441 S.E,2d 1, 3(Va.l994)).

       Plaintiff does not dispute that he has not yet obtained an expert certification. Rather, he

argues that he was not required to obtain one because the evidence clearly establishes that

defendant's negligence was the proximate cause of him not receiving an MRI,as well as his pain

and "permanent damage." Pi's. 0pp. at 11. Plaintiff also states that defendants knew or should
have known that a delay in the MRI might cause additional damage and pain. Id. at 11-12.

       Plaintiff began to complain of pain in June 2015, and was evaluated by medical staff on

July 20 and 23,2015, at which point he was prescribed Ibuprofen. In addition, plaintiff was

evaluated on July 27,2015, and had a lumbar and pelvic x-ray that same day. The next day,

plaintiff was prescribed pain medication. On August 5,2015, an emergent lumbar MRI was

requested, and even though it was not scheduled by the Petersburg medical staff before plaintiff

went to the hospital on August 9,2015, one was performed at the hospital on August 10,2015.

       "Where... a plaintiff calls into question a quintessential professional medical judgment,

the matter can be resolved only by reference to expert opinion testimony." Parker. 475

F.Supp.2d at 597(internal quotation marks and citation omitted). A physician's decision to

prescribe or recommend certain courses oftreatment for a patient's pain is a question of

professional medicaljudgment, and an expert certification is therefore required to challenge it.

See Id at 597("[I]t is difficult to imagine that a factfmder, equipped solely with an average

person's common knowledge and experience, may appropriately judge, inter alia,(i) what

actions the prison medical staff should have taken when plaintiff complained of headaches... and

(iii) what the proper course of treatment was for plaintiffs condition."). In addition, whether a

delay offive days in performing an emergent MRI breached the standard of care is not within the

common knowledge ofthe jury.          Bond v. United States. 2008 WL 4774004, at *3(E.D. Va.

Oct. 27, 2008)(holding VMMA certification required for plaintiffs claim that two-month delay
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 in examination offinger caused by defendants constituted improper treatment). Finally, the

 existence of plaintiffs other underlying medical concerns only renders the decision on when or

 what type oftreatment to provide further outside the realm of a juror's common knowledge. For

 these reasons, plaintiff cannot escape the expert certification requirement.

        Plaintiff has informed the Court that he is in the process ofseeking an expert

 certification. However,submitting the required certification at this point in this matter would not

 comply with the requirements ofthe VMMA. "Ifthe plaintiff did not obtain a necessary

 certifying expert opinion at the time the plaintiff requested service of process on a defendant as

 required under this section, the court shall impose sanctions ... and may dismiss the case with

 prejudice." Va. Code § 8.01-20.1. Because plaintiff had not obtained an expert certification at

 the time this matter was served on defendant, and defendant is only "liable in the same manner

 and to the same extent as a private individual under like circumstances," this matter will be

 dismissed.

        C.Procedural Arguments

        Plaintiff asserts several procedural reasons why he believes summary judgment should

 not be granted in this matter. First, plaintiff claims that,"in this district summary judgment

 cannot be granted prior to discovery," and that, in general, discovery is essential prior to granting

 ofsummary judgment. PL's 0pp. at 9-10. Plaintiff is incorrect that summary judgment cannot

 be granted in this district without discovery. In addition. Federal Rule of Civil Procedure 56(d)

 allows for discovery "[i]f a nonmovant shows by affidavit or declaration that, for specified

 reasons, it cannot present facts essential to justify its opposition." Fed. R. Civ. P. 56(d). Here,

 where the only issue presented on summary judgment is whether plaintiff has obtained an expert

 certification as required by the VMMA,he has not established that he is unable to present facts

 essential to justifying his opposition. Therefore, discovery is not necessary prior to ruling on

 defendant's Motion for Summary Judgment because plaintiff has not "specified legitimate needs
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 for further discovery." Strag v. Bd. of Trustees. Craven Cmtv. Coll.. 55 F.3d 943, 953 (4th Cir.

 1995)(alteration and citation omitted).

        Second, plaintiff contends that Local Rule 56(a) states that no motion for summary

 judgment "shall be considered until the completion of the briefing schedule," and because no

 briefing schedule has been conducted in this matter, summary judgment cannot be granted. PL's

 0pp. at 9. Plaintiff is incorrect, as Local Rule 56(a) contains no such restriction.

        Third, plaintiff asserts that the court could appoint an expert pursuant to Federal Rule of

 Evidence 706. Because,for the reasons stated above, any expert certification obtained at this

 time would not comply with the requirements ofthe VMMA,appointing an expert at this time

 would not prevent granting of summary judgment.

        Fourth, plaintiff asserts that defendant's motion is actually a motion to dismiss pursuant

 to Rule 12(b)(1) ofthe Federal Rules of Civil Procedure, and as such, it fails because Virginia

 Code § 8.01-20.1 is notjurisdictional. Plaintiff is incorrect that defendant's motion is a Rule

 12(b)(1) motion, thus his jurisdictional argument need not be addressed.

        Finally, plaintiff claims that defendant's motion is actually a motion to dismiss pursuant

 to Rule 12(b)(6) ofthe Federal Rules of Civil Procedure, and therefore, summary judgment

 cannot be granted. In support of its motion, defendant relies on plaintiffs certification that he

 did not obtain a written opinion from an expert medical witness, but rather that his case falls

 under the common knowledge exception in Virginia Code § 8.01-20.1. Def.'s MSJ at Ex. 3.

 Because this document is not part of plaintiffs complaint, defendant properly filed a motion for

 summary judgment.

                        IV. Constitutionality of Virginia Code § 8.01-20.1

        Plaintiff asserts that Virginia Code § 8.01-20.1 is "a complete block to access to the

 courts." Amend. Compl.^ 88. In other words, plaintiff appears to argue that Virginia Code §

 8.01-20.1 is unconstitutional because it denied him his right to access the courts. Inmates have a
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 right to meaningful access to the courts. Bounds v. Smith. 430 U.S. 817,822(1977)); Lewis v.

 Casey. 518 U.S. 343(1996). To state a claim for denial of access to the courts, plaintiff must

 establish that he suffered an "actual injury or specific harm." Hause v. Vaught. 993 F.2d 1079,

 1084-85 (4th Cir. 1993). Actual injury requires the inmate "to demonstrate that his nonfrivolous,

 post-conviction or civil rights legal claim has been frustrated or impeded." Jackson v. Wilev.

 352 F. Supp. 2d 666, 679-80(E.D. Va. 2004)(citing Lewis v. Casev. 518 U.S. 343 (1996))

        In other words. Bounds does not guarantee inmates the wherewithal to transform
        themselves into litigating engines capable offiling everything from shareholder
        derivative actions to slip-and-fall claims. The tools it requires to be provided are
        those that the inmates need in order to attack their sentences, directly or
        collaterally, and in order to challenge the conditions oftheir confinement.
        Impairment of any other litigating capacity is simply one ofthe incidental (and
        perfectly constitutional) consequences of conviction and incarceration.

 Lewis. 518 U.S. at 355. Because plaintiff is neither attacking his sentence nor asserting a claim

 that his civil rights were violated, any alleged impairment of his ability to pursue his FTCA

 claim is not a violation of his constitutional right to access the courts. S^ also Walker v. Zenk.

 323 F. App'x 144, 147(3d Cir. 2009)("[A]s the District Court ... noted, because [plaintiff] is a

 prisoner, the injury requirement is not satisfied by just any type of fhistrated legal claim. A

 prisoner must allege that official acts thwarted his non-frivolous challenge to his conviction or

 prison conditions. [Plaintiffs] tort claim falls into neither category of legal challenges.

 Accordingly, he did not state a claim for denial of access to the courts.")(internal quotation

 marks and citations omitted).

                                           V. Conclusion


         For the reasons stated above, defendant United States of America has established that

 certain claims asserted by plaintiff are unexhausted, and that defendant is entitled to summary

 judgment as to the remaining claim. Therefore, defendant's motion will be granted. In addition,

 plaintiff has not established that Virginia Code § 8.01-20.1 violates his First Amendment right to


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 access the courts. Finally, any pending motions will be denied, as moot. An appropriate Order

 shall issue.                    I


 Entered this           day of ^                             2019.




 Alexandria, Virginia


                                                      Anthony J. Trenj
                                                      United States Dis   hdge




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